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 5
     Attorney for Defendant
 6   DINO ROSETTI
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   ) Case No. CR-S-08-474 EJG
                                                 )      **AMENDED**
12                        Plaintiff,             )
                                                 ) STIPULATION AND ORDER
13          v.                                   ) CONTINUING MOTIONS HEARING
                                                 ) DATE
14                                               )
                                                 ) Date: November 19, 2010
15   DINO ROSETTI                                ) Time: 10:00 a.m.
                                                 ) Judge: Hon. Edward J. Garcia
16                Defendants.
     __________________________
17
            IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, PHILLIP FERRARI, Assistant United States
19
     Attorney, attorney for Plaintiff, and MARK J. REICHEL, Esq., attorney
20
     for defendant, Dino Rosetti, PATRICK K. HANLY, Esq., attorney for
21
     defendant Badie, that the present date for the Motions hearing be
22
     vacated and re calendared for November 19, 2010.
23
            This continuance is requested as defense counsel needs adequate
24
     time to prepare for the case, the defendant Rosetti’s attorney will be
25
     unavailable the day of October 15, 2010 and the defense is still
26
     reviewing discovery documents related to the charges.
27
28   Stip and Order continuing Motions hearing
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 1          Accordingly, all counsel and defendant agree that time under the
 2   Speedy Trial Act from the date this stipulation is lodged, November 19,
 3   2010 should be excluded in computing the time within which trial must
 4   commence under the Speedy Trial Act, pursuant to Title 18 U.S.C. § 3161
 5   (H)(8)(B)(iv) and Local Code T4.
 6   DATED: October 13, 2010.            Respectfully submitted,
 7                                       MARK J. REICHEL, ESQ.
 8                                       /s/ MARK J. REICHEL
                                         MARK J. REICHEL
 9                                       Attorney for defendant
                                         DINO ROSETTI
10
                                         Respectfully submitted,
11
                                         PATRICK K. HANLY, ESQ.
12
                                         /s/ MARK J. REICHEL
13                                       PATRICK K. HANLY
                                         Attorney for defendant
14                                       Behrooz Badie
15
16                                       BENJAMIN WAGNER
                                         United States Attorney
17
18   DATED: October 13, 2010.            /s/MARK J. REICHEL for:
                                         PHILLIP FERRARI
19                                       Assistant U.S. Attorney
                                         Attorney for Plaintiff
20
21                                       O R D E R
22          IT IS SO ORDERED.     Time is excluded in the interests of justice
23   pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
24
25   DATED: October 13, 2010.
26                                 /s/ Edward J. Garcia
                                   THE HONORABLE EDWARD J. GARCIA
27                                 Senior, United States District Court Judge
28


     Stip and Order                            2
